IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

UNITED STATES OF AMERICA )
V. Criminal Action No. 1:10-cr-00279 (RDA)
EUGENE ANTHONY THOMAS,
Defendant.
ORDER

This matter comes before the Court on Defendant Eugene Anthony Thomas’s (“Defendant’’) pro
se Motion to Amend Compassionate Release/Reduction of Sentence (“Motion to Amend”) (Dkt. 69). On
November 13, 2020, Defendant filed his original Motion for Compassionate Release (Dkt. 66), which the
Government opposed (Dkt. 68). Defendant did not file a reply in furtherance of his Motion for
Compassionate Release. In the instant Motion to Amend, Defendant has not only requested to amend his
original Motion for Compassionate Release, but he has also seemingly included his proposed amendments
to his Motion for Compassionate Release. See generally, Dkt. 69.

Considering the Motion to Amend (Dkt. 69), it is hereby ORDERED that the Motion to Amend is
GRANTED to the extent that Defendant seeks to amend his original Motion for Compassionate Release.
The Court will consider Defendant’s substantive arguments contained within the Motion to Amend (Dkt.
29) in deciding Defendant’s Motion for Compassionate Release. Defendant’s Motion for Compassionate
Release and the substantive arguments contained within the instant Motion to Amend (Dkt. 29) are under
advisement. Should the Government decide to respond to the substantive arguments contained within the
Motion to Amend (Dkt. 69), the Government may file its brief in response on or before February 10, 2021.

It is SO ORDERED.

Alexandria, Virginia

February .3_, 2021 /s/ if (f-
Rossie D. Alston, Jf. ”
United States District Judge
